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LAZARE POTTER & GIACOVAS LLP
ROBERT A. GIACOVAS, ESQ.
ANNA PIA D. NICOLAS, ESQ.
875 THIRD AVENUE, 28TH FLOOR
NEW YORK, NEW YORK 10022
Telephone: (212) 758-9300
Facsimile: (212) 888-0919

Attorneys for Creditor, Annette Kleinfeld


                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NEW YORK

In re Herman Segal,                                          )
                                                             )   No.: 13-45519 (NHL)
                                                             )
                        Debtor                               )   ECF
                                                             )
                                                             )
                                                             )   NOTICE OF APPEARANCE
                                                             )
                                                             )


        TO THE CLERK OF THE COURT and all parties of record,

Enter my appearance as counsel of record for one of the creditors of the debtor, Herman Segal

Annette Kleinfeld

I certify that I am admitted to practice in this court.

Dated: New York, New York
       September 23, 2014



                                                    LAZARE POTTER & GIACOVAS LLP

                                                    By:     /s/ Robert A. Giacovas
                                                          Robert A. Giacovas
                                                          Bar No. 218463
                                                          875 Third Avenue, 28th Floor
                                                          New York, New York 10022
                                                          (212) 758-9300
                                                          Attorneys for Creditor Annette Kleinfeld


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